Case 2:20-cv-02892-SHL-tmp       Document 607        Filed 05/15/24      Page 1 of 2
                                 PageID 35595




         May 15, 2024

         Via ECF

         The Honorable Sheryl H. Lipman
         United States District Court
         Western District of Tennessee
         Odell Horton Federal Building
         167 North Main Street
         Memphis, TN 38103

         Re:    Jones v. Bain Capital Equity,
                Case No. 2:20-cv-2892-SHL-tmp

         Your Honor:

         On May 13, 2024, Plaintiffs filed the unopposed motion for preliminary
         approval of the proposed settlement agreed by the Parties on April 28,
         2024 (the “Proposed Settlement” or “Agreement”). See ECF No. 606.
         Pursuant to Fed. R. Civ. P. 23(e)(3), Plaintiffs write to inform the Court
         that, on April 28, 2024, the Parties also entered into a supplemental
         agreement relating to Defendants’ option to rescind the Agreement
         should a certain number of class members timely opt out of the Proposed
         Settlement (the “Supplemental Agreement”). A copy is attached hereto
         as Exhibit 1.

         The Parties have agreed that they will keep the terms of the
         Supplemental Agreement confidential, except if compelled by judicial
         process to disclose it publicly. See Agreement (ECF No. 606-3), ¶ 35.
         This is because “[t]he threshold number of opt outs required to trigger
         [a] blow provision is typically not disclosed and is kept confidential to
         encourage settlement and discourage third parties from soliciting class
         members to opt out.” In re HealthSouth Corp. Sec. Litig., 334 F. App'x
         248, 250 (11th Cir. 2009); see also In re Skelaxin (Metaxalone) Antitrust
         Litigation, No. 1:12-MD-2343, 2015 WL 1486709, at *2 (E.D. Tenn.,
         Mar. 31, 2015) (finding good cause to seal opt-out threshold because
         “[p]otential opt-outs may exploit this type of provision by demanding
         undue compensation for not scuttling the settlement”). Accordingly,
         Plaintiffs request that the Court review the Supplemental Agreement in
         camera and file it under seal.
Case 2:20-cv-02892-SHL-tmp      Document 607         Filed 05/15/24     Page 2 of 2
                                PageID 35596

         The Honorable Sheryl H. Lipman
         May 15, 2024
         Page 2


         Further, Plaintiffs submit that the Supplemental Agreement is fair,
         reasonable, and adequate under Rule 23 for the same reasons articulated
         in Plaintiffs’ motion for preliminary approval of the Proposed Settlement
         and because blow up provisions that are the subject of the Supplemental
         Agreement “give plaintiff's counsel leverage to negotiate the strongest
         possible settlement to discourage opt outs.” Medina v. NYC Harlem
         Foods Inc., No. 21-CV-1321 (VSB), 2022 WL 1184260, at *6 (S.D.N.Y.
         Apr. 21, 2022) (citation omitted); see also Plaintiffs’ Memorandum of
         Law (ECF No. 606-1), § IV.A.

                                              Respectfully submitted,

                                              /s/ Joseph R. Saveri

                                              Joseph R. Saveri

         cc:    Counsel of record (by ECF)
